                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 L.W. et al.,                                   )
 by and through her parents and next            )
 friends, Samantha Williams and Brian           )
 Williams                                       )              NO. 3:23-cv-00376
                                                )           JUDGE RICHARDSON
      Plaintiffs,                               )
                                                )
 v.                                             )
                                                )
 JONATHAN SKRMETTI et al.,                      )

      Defendants.

                                            ORDER

        On May 31, 2023, the Court entered an Order regarding several exhibits that were filed in

support of Defendants’ response in opposition (Doc. No. 112) to Plaintiffs’ motion for a

preliminary injunction (Doc. No. 21) and were labeled as “Conventionally Filed.” Chambers has

now received these exhibits. Accordingly, the Clerk is directed to STRIKE Docket No. 130 from

the record.


        IT IS SO ORDERED.


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                                                    ELI RICHARDSON
                                                    UNITED STATES DISTRICT JUDGE




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